Case 2:14-cv-01005-RSP Document 71 Filed 01/07/16 Page 1 of 3 PageID #: 1053



                          UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TEXAS
                               MARSHALL DIVISION

TRAXXAS LP                                 §
                                           §
       Plaintiff,                          §
                                           §   Civil Action No. 2:14-cv-1005
v.                                         §
                                           §
HOBBYKING CORP. d/b/a                      §
HOBBYKING and HOBBYKING.COM,               §   JURY TRIAL DEMANDED
and ABC FULFILLMENT SERVICES               §
LLC d/b/a HOBBYKING USA LLC and            §
HOBBYKING.COM.                             §
                                           §
       Defendants.                         §

                     JOINT MOTION TO DISMISS WITH PREJUDICE

       Plaintiff Traxxas LP (“Traxxas”) and Defendants HobbyKing Corp. d/b/a HobbyKing

and HobbyKing.com and ABC Fulfillment Services LLC f/k/a HobbyKing USA LLC and

HobbyKing.com (“Defendants” or “HobbyKing”), pursuant to Fed. R. Civ. P. 41(a)(2) and (c),

hereby move for an order dismissing all claims in this action WITH PREJUDICE, subject to the

terms of an agreement entitled “SETTLEMENT AGREEMENT AND GENERAL RELEASE”

and dated December 17, 2015, with each party to bear its own costs, expenses and attorneys’

fees. The Court retains jurisdiction over this case for purposes of enforcing the Settlement

Agreement.


Dated: January 7, 2016                         Respectfully Submitted,

By: /s/ Paul V. Storm                          By: /s/ William E. Davis, III
Paul V. Storm                                  William E. Davis, III
Texas State Bar No. 19325350                   Texas State Bar No. 24047416
Email: pvstorm@gardere.com                     The Davis Firm, PC
Sarah M. Paxson                                213 N. Fredonia Street, Suite 230
Texas State Bar No. 24032826                   Longview, Texas 75601
Email: spaxson@gardere.com                     Telephone: (903) 230-9090
Case 2:14-cv-01005-RSP Document 71 Filed 01/07/16 Page 2 of 3 PageID #: 1054



GARDERE WYNNE SEWELL LLP              Facsimile: (903) 230-9661
1601 Elm Street, Suite 3000           Email: bdavis@bdavisfirm.com
Dallas, Texas 75201
Telephone: (214) 999-3000             Of counsel
Facsimile: (214) 999-4667
                                      L. David Anderson
ATTORNEYS FOR DEFENDANTS              Attorney-In-Charge
HOBBYKING CORP. D/B/A                 State Bar No. 00796126
HOBBYKING AND HOBBYKING.COM           Email: danderson@wickphillips.com
AND ABC FULFILLMENT SERVICES          R. Casey O’Neill
LLC F/K/A HOBBYKING USA LLC AND       State Bar No. 24079077
HOBBYKING.COM.                        Email: casey.oneill@wickphillips.com
                                      Rusty O’Kane
                                      State Bar No. 24027443
                                      Email: rusty.okane@wickphillips.com
                                      WICK PHILLIPS GOULD & MARTIN,
                                      LLP
                                      3131 McKinney Avenue, Suite 100
                                      Dallas, Texas 75204
                                      Telephone: (214) 692-6200
                                      Facsimile: (214) 692-6255

                                      Scott L. Harper
                                      State Bar No. 00795038
                                      Email: scott.harper@griffithbates.com
                                      Griffith Bates Champion Harper LLP
                                      5910 N Central Expressway, Suite 1050
                                      Dallas, Texas 75206
                                      Telephone: (214) 238-8400
                                      Facsimile: (214) 238-8401

                                      ATTORNEYS FOR PLAINTIFF
                                      TRAXXAS LP




                                    -2-
Case 2:14-cv-01005-RSP Document 71 Filed 01/07/16 Page 3 of 3 PageID #: 1055



                                CERTIFICATE OF SERVICE

       The undersigned certifies that the foregoing document was filed electronically in

compliance with Local Rule CV-5(a). As such, this response was served on all counsel who are

deemed to have consented to electronic service. Local Rule CV-5(a)(3)(V). Pursuant to Fed. R.

Civ. P. 5(d) and Local Rule CV-5(d) and (e), all other counsel of record not deemed to have

consented to electronic service were served with a true and correct copy of the foregoing by

email, on this the 7th day January, 2016.

                                             /s/ William E. Davis, III
                                             William E. Davis, III




                                            -3-
